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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


DAVID MATSON, BARBARA                        §
MATSON, YOLANDA GARRET,                      §
INDIVIDUALLY AND ON BEHLF OF                 §                5-19-CV-00717-RBF
ALL OTHERS SIMILARLY SITUATED.;              §
                                             §
                Plaintiffs,                  §
                                             §
vs.                                          §
                                             §
NIBCO INC.,                                  §
                                             §
                Defendant.                   §



                                  FINAL JUDGMENT

      Pursuant to the Court’s October 20, 2021 Final Settlement Approval Order and Order

Approving Class Counsel’s Attorneys’ Fees and Costs IT IS HEREBY ORDERED

ADJUDGED AND DECREED THAT:

      (1) The Settlement Class set forth in the Court’s Final Approval Order is certified and

         the parties’ December 22, 2020, Settlement Agreement is finally approved. All

         Settlement Class Members, except those who submitted a timely and valid Request

         for Exclusion as identified in Appendix A attached to the Court’s Final Settlement

         Approval Order, are bound by the Settlement, the Court’s Final Approval Order, and

         this Final Judgment.

      (2) NIBCO shall pay Class Counsel $2,330,000 in attorneys’ fees and costs separate and

         apart from the settlement fund to be shared amongst the five firms appointed as Co-

         Class Counsel.




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       (3) NIBCO shall pay Plaintiffs David and Barbara Matson $10,000 as a service award

           and another $10,000 to Plaintiff Yolanda Garret. Such amount shall be separate and

           apart from the settlement fund.

       (4) The Court will retain jurisdiction over this action, and all parties and Settlement Class

           Members, for all matters relating to this litigation and the settlement of it, including,

           without limitation, the administration, interpretation, effectuation and/or enforcement

           of the Settlement, the Final Settlement Approval Order, and this Final Judgment.

       All claims and causes of action asserted by Plaintiffs David Matson, Barbara Matson, and

Yolanda Garret, on behalf of themselves and all others similarly situated, in this litigation against

Defendant NIBCO Inc. are DISMISSED WITH PREJUDICE.

       All other relief not expressly granted herein or in the Court’s Final Settlement Approval

Order, Dkt. No. 132, and Order Approving Class Counsel’s Attorneys’ Fees and Costs, Dkt. No.

133, is DENIED.

       The Clerk is directed to CLOSE this case.

       IT IS SO ORDERED.

       SIGNED this 20th day of October, 2021.




                                              RICHARD B. FARRER
                                              UNITED STATES MAGISTRATE JUDGE




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